          Case 1:23-cv-01346-JSR Document 70 Filed 10/20/23 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES SECURITIES AND
 EXCHANGE COMMISSION,

                                 Plaintiff,
                      v.                                No. 1:23-cv-1346 (JSR)

 TERRAFORM LABS PTE, Ltd. and
 DO KWON,

                              Defendants.



                 NOTICE OF MOTION FOR SUMMARY JUDGMENT
                AGAINST DEFENDANTS AND MOTIONS TO EXCLUDE
                DEFENDANTS’ EXPERTS’ REPORTS AND TESTIMONY

       PLEASE TAKE NOTICE that, pursuant to the Amended Case Management Plan entered

in this case on June 28, 2023 (Dkt. No. 44), Plaintiff Securities and Exchange Commission

(“SEC”) will file a motion pursuant Fed. R. Civ. P. 56 for summary judgment on the basis that

there is no genuine dispute as to any material fact and the SEC is entitled to judgment as a matter

of law on each of its claims. The SEC shall file its moving papers on October 27, 2023, defendants

shall file their answering papers on or before November 10, 2023, and the SEC shall file its reply

on or before November 17, 2023. Oral argument on the motion will be held before the Honorable

Jed S. Rakoff at the United States Courthouse for the Southern District of New York, 500 Pearl

Street, Courtroom 14B, New York, New York, on November 30, 2023 at 4:00pm.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Court’s order dated October 20,

2023, the SEC will file motions to exclude the report and testimony of Defendants’ expert

witnesses pursuant to Fed. R. Evid. 702. The SEC shall file its moving papers on October 27,

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          Case 1:23-cv-01346-JSR Document 70 Filed 10/20/23 Page 2 of 2




2023, defendants shall file their answering papers on or before November 7, 2023, and the SEC

shall file its reply on or before November 10, 2023. Oral argument on the motions will be held

before the Honorable Jed S. Rakoff at the United States Courthouse for the Southern District of

New York, 500 Pearl Street, Courtroom 14B, New York, New York, on November 17, 2023 at

2:00pm.



Dated: October 20, 2023                    Respectfully submitted,

                                           /s/ Michael E. Welsh
                                           James P. Connor, admitted pro hac vice
                                           Christopher J. Carney
                                           Laura E. Meehan
                                           Devon L. Staren, admitted pro hac vice
                                           Carina A. Cuellar, admitted pro hac vice
                                           Michael E. Welsh, admitted pro hac vice
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